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                                  UNITED STATES DISTRICT COURT FOR THE
                                      SOUTHERN DISTRICT OF FLORIDA
                                              Miami Division

                                      Case Number: 03-21296-CIV-MORENO

  RICK LOVE, M.D., et al.,

           Plaintiffs,

  vs.

  BLUE CROSS AND BLUE SHIELD ASSOCIATION, et al.,

         Defendants.
  _____________________________________/

   ORDER GRANTING THE WELLPOINT DEFENDANTS’ MOTION TO ENFORCE INJUNCTION
  AGAINST THE CENTER FOR RESTORATIVE BREAST SURGERY, LLP IN CERTAIN LOUISIANA
                             STATE COURT ACTIONS

           THIS CAUSE came before the Court upon The WellPoint Defendants’ Motion to Enforce Injunction

  Against The Center for Restorative Breast Surgery, LLP in Certain Louisiana State Court Actions (D.E. No. 1243),

  filed on February 26, 2008.

           The Center for Restorative Breast Surgery (“CRBS”) has more than 70 lawsuits pending in Louisiana state

  court (the “Louisiana Lawsuits”). CRBS filed the first lawsuit in 2006. Fourteen of the Louisiana Lawsuits name

  WellPoint subsidiaries as Defendants (the “WellPoint Defendants”). The WellPoint Defendants are party to the

  WellPoint Settlement that this Court approved (Master MDL 00-1334 D.E. No. 4671) on December 27, 2005.

  CRBS seeks in the Louisiana Lawsuits (1) reimbursement for fee for service physician charges that CRBS claims

  were improperly diminished or denied by the BCBS entities and (2) statutory penalties under Louisiana’s prompt

  pay statute.

           This Court’s Order Approving Settlement Among WellPoint, Inc. and Physicians, Physician Groups and

  Physician Organizations (Master MDL 00-1334 D.E. No. 4671) defines those claims released by the settlement.

  The first sentence of Paragraph 5 provides in pertinent part:

                    The “Released Parties,” . . . shall be released and forever discharged by . . . all
                    Class Members . . . (collectively, the “Releasing Parties”) from any and all
                    causes of action, judgments, liens, indebtedness, costs, damages, obligations,
                    attorneys’ fees, losses, claims, liabilities and demands . . . arising on or before
                    the Effective Date, that are, were or could have been asserted against any of the
                    Released Parties by reason of, arising out of, or in any way related to any of the
                    facts, acts, events, transactions, occurrences, courses of conduct, business
                    practices, representations, omissions, circumstances or other matters referenced
                    in the Action, or addressed in this Agreement, whether any such Claim was or
                    could have been asserted by any Releasing Party on its own behalf or behalf of
                    other Persons, or to the business practices that are the subject of § 7.
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  The second sentence of Paragraph 5 begins: “This includes, without limitation and as to Released Parties only,

  any aspect of any fee for service claim submitted by any Class Member to a Blue Plan[.]”

           The use of the word “includes” in the second sentence of Paragraph 5 indicates that the second sentence

  expands, rather than limits, the scope of the release. The second sentence prevents any Class Member from suing

  a Released Party over “any aspect of a fee for service claim.” CRBS is a Class Member. The Louisiana Lawsuits

  involve fee for service claims made by CRBS against the WellPoint Defendants, which are Released Parties. The

  Louisiana Lawsuits therefore violate sentence two of Paragraph 5 in the Order Approving Settlement (Master MDL

  00-1334 D.E. No. 4671).

           Notwithstanding sentence two of Paragraph 5, this Court further holds that sentence one releases CRBS’

  claims against the WellPoint Defendants. The first sentence of Paragraph 5 releases all those claims that “are in any

  way related” to “any of the facts, acts, events . . . [or] representations . . . referenced in the Action.” The Louisiana

  Lawsuits involve claims against the WellPoint Defendants that the WellPoint Defendants did not pay CRBS as much

  as it agreed to pay pursuant to the agreements made between CRBS and the WellPoint Defendants. The Managed

  Care Litigation involves claims that health insurance companies improperly denied and diminished insurance claims

  made by doctors in violation of the agreements made between the doctors and insurance companies. The claims

  made in the Managed Care Litigation and the Louisiana Lawsuits involve related factual allegations. That the

  Managed Care Litigation involves a RICO cause of action is of no moment. The Lousiana Lawsuits therefore

  violate sentence one of Paragraph 5 in the Order Approving Settlement (Master MDL 00-1334 D.E. No. 4671).

           It is accordingly ADJUDGED that the Center for Restorative Breast Surgery, LLP, Scott K. Sullivan, Jr.,

  and Frank Dellacroce are enjoined from prosecuting the Louisiana Lawsuits against any of those parties defined as

  “Released Parties” in the Order Approving Settlement (Master MDL 00-1334 D.E. No. 4671). The claims against

  the Released Parties shall be immediately dismissed.



           DONE AND ORDERED in Chambers at Miami, Florida, this 19th day of April, 2008.




                                                                  _______________________________________
                                                                  FEDERICO A. MORENO
                                                                  UNITED STATES DISTRICT JUDGE

  Copies provided to:
  Counsel of Record


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